                            EXHIBIT
Case 3:15-cv-01427-K Document           1
                              1-1 Filed 05/07/15                          Page 1 of 9 PageID 13




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    NORTHERN DIVISION

 2445 GROUP, LTD.                                    §
                                                     §
  v.                                                 § CIVIL ACTION NO. _ _ _ _ _ __
                                                     §
 CAPITAL ONE, N.A; MARK DUBOS and                   §
 DAVID HASSELL                                      §

       DECLARATION OF MARK DUBOS IN SUPPORT OF NOTICE OF REMOVAL

          I declare under penalty of perjury that the foregoing is true and correct:

          1.     I am an employee of Capital One, N.A. ("Capital One"), a national banking

 association with its main office in McLean, Virginia. I reside in the State of Louisiana. I also

 work for Capital One from an office in the State of Louisiana.

         2.      This case arises from a "Real Estate Lien Note" dated September 24, 2007

 between 2445 Group, Ltd. ("Plaintiff"), as borrower, and Capital One, as lender, in the original

principal amount of $1,969,700 ("the Note"). A true and correct copy of the Note is attached

hereto as Exhibit A.

         3.      On or about March 13, 2008, the parties modified the Note by an agreement

entitled "Modification to Promissory Note," a true and correct copy of which is attached hereto

as Exhibit B.

         4.     I work in a special assets group of Capital One and handle troubled loans. I was

assigned to Plaintiffs loan sometime in early January 2014. I had communications and/or

conversations with one or more of Plaintiffs representatives about the loan and its default. My

dealings with Plaintiff were in my capacity as an employee of Capital One. I had no dealings or

interactions with Plaintiff or its representatives outside of this context.




DECLARATION OF MARK DUB OS IN SUPPORT OF NOTICE OF REMOVAL- Page 1
13092255v.3
 Case 3:15-cv-01427-K Document 1-1 Filed 05/07/15                    Page 2 of 9 PageID 14




          5.    At the time I became involved with this account and customer in January 2014,

 the loan was already in default and Plaintiff was substantially behind on its payments.

          6.    I have no idea why I was sued individually in this case by Plaintiff, and am

 outraged by such suit.

          Executed on   this~ day of May, 2015.




DECLARATION OF MARK DUB OS IN SUPPORT OF NOTICE OF REMOVAL- Page 2
13092255v.3
                           EXHIBIT
Case 3:15-cv-01427-K Document 1-1 Filed A
                                        05/07/15   Page 3 of 9 PageID 15




                                Page #1

                                                                   CONA 0001
Case 3:15-cv-01427-K Document 1-1 Filed 05/07/15   Page 4 of 9 PageID 16




                                Page #2

                                                                    CONA 0002
Case 3:15-cv-01427-K Document 1-1 Filed 05/07/15   Page 5 of 9 PageID 17




                                Page #3

                                                                    CONA 0003
Case 3:15-cv-01427-K Document 1-1 Filed 05/07/15   Page 6 of 9 PageID 18




                                Page #4

                                                                    CONA 0004
Case 3:15-cv-01427-K Document 1-1 Filed 05/07/15   Page 7 of 9 PageID 19




                                Page #5

                                                                    CONA 0005
Case 3:15-cv-01427-K Document 1-1 Filed 05/07/15   Page 8 of 9 PageID 20




                                Page #6

                                                                    CONA 0006
                           EXHIBIT
Case 3:15-cv-01427-K Document 1-1 Filed B
                                        05/07/15   Page 9 of 9 PageID 21




                                Page #1

                                                                   CONA 0007
